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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Miami Air International, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  5000 NW 36th St.
                                  Suite 307                                                       PO Box 660880
                                  Miami, FL 33166                                                 Miami, FL 33266
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Miami-Dade                                                      Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    Miami Air International, Inc.                                                              Case number (if known)
          Name



7.   Describe debtor's business         A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                           None of the above

                                        B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
     debtor filing?
                                         Chapter 7
                                         Chapter 9
                                           Chapter 11. Check all that apply:
                                                              Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                              A plan is being filed with this petition.
                                                              Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12


9.   Were prior bankruptcy
     cases filed by or against
                                         No.
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                               Case number
                                                  District                                 When                               Case number


10. Are any bankruptcy cases
    pending or being filed by a
                                         No
    business partner or an               Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                  Relationship
                                                  District                                 When                           Case number, if known




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Debtor   Miami Air International, Inc.                                                           Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                    50-99                                          5001-10,000                               50,001-100,000
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




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          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 24, 2020
                                                  MM / DD / YYYY


                             X   /s/ Annette Eckerle                                                      Annette Eckerle
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Authorized Officer




18. Signature of attorney    X   /s/ Paul J. Battista                                                      Date March 24, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Paul J. Battista 884162
                                 Printed name

                                 Genovese Joblove & Battista, P.A.
                                 Firm name

                                 100 SE 2nd St.
                                 44th Floor
                                 Miami, FL 33131
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     305-349-2300                  Email address


                                 884162 FL
                                 Bar number and State




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                                                               United States Bankruptcy Court
                                                                     Southern District of Florida
 In re      Miami Air International, Inc.                                                                   Case No.
                                                                                  Debtor(s)                 Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Authorized Officer of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




 Date:       March 24, 2020                                            /s/ Annette Eckerle
                                                                       Annette Eckerle/Authorized Officer
                                                                       Signer/Title




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            Aaren Pui Chan
            1919 Alameda #20
            San Mateo, CA 94403


            Aaron A Connelly
            7209 McKinley St
            Hollywood, FL 33024


            Aaron Nietfeld
            c/o John M. Phillips Esq.
            4230 Ortega Blvd.
            Jacksonville, FL 32210


            ACTS - AVIATION SECURITY INC.
            P.O. BOX 843708
            DALLAS, TX 75284-3738


            Adam Henry Superson
            1864 Southwest 11th Street
            Miami, FL 33135


            Adela Martinez
            8958 Country Bend Cir N
            Jacksonville, FL 32244


            ADP Inc.
            P.O. BOX 842875
            BOSTON, MA 02284-2875


            Adrian Fernandez
            707 SE 27th Dr
            Homestead, FL 33033


            Adriana Alves Matz
            1506 Kingsley Rd
            Jupiter, FL 33469


            Adrienne Lynn Curtis
            4225 SW 121st Lane
            Apt 212
            Miramar, FL 33025


            AERO DECALS
            1914 CANOVA STREET S.E.
            PALM BAY, FL 32909
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        AERO DESIGN SERVICES INC.
        35246 US HWY 19 NORTH
        SUITE 320
        PALM HARBOR, FL 34684


        AERO MARINE INTERIOR INC.
        190 N.E. 186 TERRANCE
        MIAMI, FL 33179


        AEROSPACE ACCESSORY
        2001 NW 79TH AVENUE
        DORAL, FL 33122


        AEROSPACE ALLIANCE INC.
        6352 NW 99TH AVENUE
        DORAL, FL 33178-2721


        AEROTHRUST CORP.
        P.O. BOX 522236
        MIAMI, FL 33152


        AeroTurbine Inc.
        15701 SW 29th St.
        Miramar, FL 33027


        AGCS Marine Insurance Company
        399 Park Ave.
        New York, NY 10022


        Agustin Ledo
        8187 NW 98th Terr
        Hialeah, FL 33016


        AIMS INT'L DWC-LLC
        3RD FLOOR 14 HANOVER STREET
        JERSEY U.K.
        LONDON W1S 11YH


        AIR CULINAIRE WORLDWIDE LLC
        5830 WEST CYPRESS STREET
        SUITE B & C
        TAMPA, FL 33607
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        AIR PLANNING
        TWO MAIN STREET
        THE AIR PLANNING BUILDING
        SALEM, NH 03079


        Airborne Maintenance & Engineering Servi
        145 HUNTER DRIVE
        WILMINGTON, OH 45177


        AIRCRAFT DETAILING INC.
        240 SW 34 STREET
        FORT LAUDERDALE, FL 33315


        AIRCRAFT ENGINE MANAGEMENT SERVICES
        2554 AVENUE AU SOLEIL
        GULFSTREAM, FL 33483


        AIRCRAFT SERVICE INT'L GROUP
        4900 DIPLOMACY RD
        FORTH WORTH, TX 76155


        AIRCRAFT TECHNICAL PROFESSIONALS
        PROFESSIONAL INC.
        18459 PINES BLVD.  PMB360
        PEMBROKE PINES, FL 33029


        Aircrafters Inc.
        259 Quigley Blvd. #12
        New Castle, DE 19720


        AIRLINE ECONOMICS INC.
        P.O. BOX 358
        BELLAIRE, TX 77402-0358


        Airlines for America
        1275 Pennsylvania Ave. NW
        Washington, DC 20004-2404


        AIRLINES MANAGEMENT SERV. CORP.
        140 CEDAR CIRCLE
        FAYETTEVILLE, GA 30214
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        AIRLINES REPORTING CORPORATION
        300 Wilson Blvd.
        Suite 300
        Arlington, VA 22201


        AIRPORT TERMINAL SERVICE INC.
        P.O. BOX 934054
        ATLANTA, GA 31193-4054


        AIRSPACE TECHNOLOGIES
        6005 HIDDEN VALLEY ROAD
        SUITE 280
        CARLSBAD, CA 92011


        AIRX AVIATION INC.
        5525 NW 15TH AVE.
        SUITE 202
        FORT LAUDERDALE, FL 33309


        Alan Lorek
        1800 Charlesmonte Dr
        Unit 98
        Indialantic, FL 32903-2077


        Alaric Brown
        2172 Hacienda Terr
        Weston, FL 33327-2239


        Alaska Airlines Inc.
        PO BOX 34936
        DEPARTMENT 4101
        SEATTLE, WA. 98124-1936


        Alejandro Horta
        6371 NW 40 St.
        Virginia Gardens, FL 33166


        Alexander Neborski
        9477 Quail Trail
        Jupiter, FL 33478


        Alexandre Saparov
        600 Parkview Dr. Apt 827
        Hallandale Beach, FL 33009
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        Alexis Fernandez
        1695 W 42 St
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        Alice Suegart
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        # 205
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        10658 Willow Oak Ct
        Wellington, FL 33414


        Alisina Malek
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        100 W. Big Beaver Rd. Ste 130
        Troy, MI 48084


        Allied Aviation Fueling of Miami
        P.O. BOX 260847
        MIAMI, FL 33166


        ALLIED AVIATION- CANADA
        P.O. BOX 329
        GANDER INT'L AIRPORT
        GANDER NL, CANADA A1V 1W7


        Allison S Sparrow
        6521 Northwest 171st Street
        Hialeah, FL 33015


        Alper Serbetci
        9298 SW 57th Ave
        Miami, FL 33156


        ALPHA INFLIGHT US LLC
        1776 HANGAR ROAD
        SANFORD, FL 32773


        Alpha-Tech
        P. O. BOX 668230
        MIAMI, FL 33166
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        Altagracia Banuchi
        520 SE 21st Ln
        Homestead, FL 33033


        AMERICAN CHEMISTRY COUNCIL
        2900 FAIRVIEW PARK DRIVE
        FALLS CHURCH, VA 22042-4513


        AMERICAN EXPRESS-FORT LAUD
        P.O BOX 360001
        FT.LAUDERDALE, FL 33266-0880


        Amira Florentine Hoven
        1721 SE 17th Street
        Fort Lauderdale, FL 33316


        Ana Nicole Sanudo Ugarte
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        Sunny Isles Beach, FL 33160


        Andres Felipe Chaves Chavez
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        Miami, FL 33012


        Anelyn Perez
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        Miami, FL 33182


        Angel Antonio Romero
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        Circle
        Hialeah, FL 33015
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        Ann Shellie
        10565 SW 152nd Ter
        Miami, FL 33157


        Anne Christelle Dominique
        165 NW 96 Terrace #308
        Pembroke Pines, FL 33024


        Anthony Klein
        9416 SW 52 Place
        Cooper City, FL 33328


        ANTHONY TRAVEL LLC
        1401 IVY COURT
        SOUTH BEND, IN 46637


        Antonio Maxwell
        8527 NW 7TH ST #39
        Miami, FL 33126


        Antray Jordan
        3253 Foxcroft Rd
        Apt 105
        Miramar, FL 33025


        Apple Vacations Corp.
        7 CAMPUS BLVD
        NEWTON SQUARE, PA 19073


        ARC Avionics Corp.
        5595 NW 36TH STREET
        MIAMI SPRINGS, FL 33166


        Arlene Cedron
        9300 Biscayne Blvd
        Miami Shores, FL 33138


        Armando Martinez
        1160 NW 26 Avenue Road
        Miami, FL 33125


        Arthur Gifford Anderson
        1627 SW 37 Ave
        Miami, FL 33145
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        ASCAP
        420 Lincoln Rd Suite 502
        Miami Beach, FL 33139


        Ashley Ann Betancourt
        1402 W 42nd Pl
        Hialeah, FL 33012


        Ashli Doctor
        1671 East Sandpiper
        Circle
        Pembroke Pines, FL 33026


        ASSOCIATED ENERGY GROUP LLC
        3808 WORLD HOUSTIN PKWY
        SUITE B
        HOUSTON, TX 77032


        ASTIN AVIATION CLL LLC
        2501 EARL RUDDER FWY SOUTH
        SUITE 100
        COLLEGE STATION, TX 77845


        ASTRONICS ADVANCED ELECTRONICS
        SYSTEMS
        12950 WILLOWS ROAD N.E.
        KIRKLAND, WA 98034


        AT YOUR SERVICE MANAGEMENT
        P.O. BOX 2457
        CRANBERRY TWP, PA 16066


        AT YOUR SERVICE MANAGEMENT INC
        D/B/A CITY MAINTENANCE SUPPLY
        3020 SW 10TH ST
        POMPANO BEACH, FL 33069


        AT&T-300508351
        P.O. BOX 5014
        CAROL STREAM, IL 60197-5014


        ATLANTIC AVIATION
        P.O. BOX 930645
        ATLANTA, GA 31193-0645
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        ATLANTIC TRAVEL CONSOLIDATORS
        CONSOLIDATORS INC.
        10424 S.W. 142 CT.
        MIAMI, FL 33186


        Audrey Colleen McDermott
        7450 NW 4th Street
        Apt# 202
        Plantation, FL 33317


        AUDREY MCDERMOTT
        7430 NW 4TH STREET
        PLANTATION, FL 33317


        Austin Thompson
        c/o John M. Phillips Esq.
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        Jacksonville, FL 32210


        AUTOMATED SYSTEMS IN AIRCRAFT
        6675 MARS ROAD
        CRANBERRY TWP, PA 16066-6909


        Avfuel Corporation
        P. O. BOX 67000
        DEPT.-135-01 AVFUEL COPORATION
        DETROIT, MI 48267-0135


        AVIALL-AIRCRAFT PARTS DISTRIBUTION
        P.O. BOX 842267
        DALLAS, TX 75284-2267


        AVIALL-DALLAS
        P.O. BOX 842267
        DALLAS, TX 72284-2267


        AVIAM Limited
        CALLE FANTINO FALCO 55
        ENSANCHE NACO
        SANTO DOMINGO, DOMINICAN REPUBLIC 10124-


        AVIATION CAPITAL GROUP
        BANK OF UTAH AS OWNER TRUSTEE
        200 E. SOUTH TEMPLE STE. 210
        SALT LAKE CITY, UT 84111
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        AVIATION INFLATABLES
        1488 N. NOB HILL ROAD
        #453
        FT. LAUDERDALE, FL 33322


        AVIATION MAINTENANCE CONSULTANT
        7360 SW 37TH COURT
        DAVIE, FL 33314


        AVIATION SUPPORT SA DE CV (MACA)
        AV. INSURGENTES SUR NO.800
        PISO 8 COL. DEL VALLE
        DELEGACION BENITO JUAREZ 03100


        Avinode
        444 Brickell Ave.
        Suite 950
        Miami, FL 33131


        Avionica
        9941 W. JESSAMINE STREET
        MIAMI, FL 33157


        AVIONICS SUPPORT GROUP INC.
        13155 SW 132ND AVENUE
        MIAMI, FL 33186


        AVS International Group Inc.
        3555 NW 33rd St.
        Miami, FL 33142


        AWARDS TROPHY WORLD
        6400 NW 77TH COURT
        MIAMI, FL 33166


        B & W AVIATION CORP.
        7317 NW 56 ST
        MIAMI, FL 33166


        BAE Systems
        P.O. BOX 2987
        CAROL STREAM, IL 60132-2987
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        P.O. BOX 53155
        PHOENIX, AZ 85072-3155


        BANK OF AMERICA-OPERATING
        P.O. BOX 841715
        DALLAS, TX 75284-1715


        BANK OF NOVA SCOTIA - JAMAICA
        PO Box 709
        Kingston, JAMAICA W.I.


        Bank of Utah
        200 East South Temple
        Suite 210
        Salt Lake City, UT 84111


        Barbara Wilson
        3501 SW 15 Ct
        ft Lauderdale, FL 33312


        BARFIELD AERO LLC
        P.O. BOX 931565
        ATLANTA, GA 31193-1565


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        c/o Victoria Lazar Esq.
        655 W. Broadway Ste 1700
        San Diego, CA 92101


        Bertila Pozo
        275 ne 18 st
        #1706
        Miami, FL 33132


        Billy Tyre Brodie Susan
        4281 SW 13th Terrace
        Miami, FL 33144


        BISKAY HOLDING d/b/a COMMERCIAL
        AIRCRAFT EQUIPMENT
        10490 MARKISON ROAD
        DALLAS, TX 75238
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        Blanca Maria Cortes
        13616 SW 102nd Ln
        Miami, FL 33186


        Blessing Noliwe Ramirez Avila
        20901 San Simeon Way
        APT# 211
        Miami, FL 33179


        BLUE AVIATION CO.
        AL SHUHADAA ST. AL HAMRA TOWER
        65TH FLOOR PO BOX 1520 SAFAT
        SHARQ, KUWAIT 13016-0000


        BOEING COMMERCIAL
        P.O. BOX 277851
        ATLANTA, GA 30384-7851


        BOEING COMMERCIAL AIRPLANE GRP
        3855 LAKEWOOD BOULEVARD
        LONG BEACH, CA 90846-0001


        Bonnie Mc Cabe
        8725 SW 182 Terr
        Miami, FL 33157


        BOONE COUNTY COLLECTOR
        801 E. Walnut St. #118
        Columbia, MO 65201


        BP PRODUCTS NORTH AMERICA INC
        P.O BOX 402718
        ATLANTA, GA 30384-2718


        Branden Keith Killion
        2100 Sans Souci Blvd.
        705
        North Miami, FL 33181


        Brandon Thompson
        c/o John M. Phillips Esq.
        4230 Ortega Blvd.
        Jacksonville, FL 32210
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        Brian Espitia
        1080 94th St Apt 504
        Bay Harbor Islands, FL 33154


        BRIDGESTONE AIRCRAFT TIRE
        802 SOUTH AYERSVILLE ROAD
        MAYODAN, NC 27027


        Brittney Beverley Comer
        2665 Teakwood Drive
        Clearwater, FL 33764


        Brookellen Bowman
        c/o John M. Phillips Esq.
        4230 Ortega Blvd.
        Jacksonville, FL 32210


        Bruce Carlton Embree
        PO Box 720163
        Miami, FL 33172


        Bruce Marley
        419 Mahogany
        Key Largo, FL 33037-2925


        C.C.A.S. S.A. OVERFLIGHT SERVICES
        AVENIDA JUSTO AROSEMENA
        UNICENTRO BELLA VISTA
        ENTRE CALLE 41-42


        CALGARY AIRPORT AUTHORITY
        2000 AIRPORT ROAD N.E.
        CALGARY INT'L AIRPORT
        CALGARY ALBERTA T2E 6W5


        Calvin Alexander
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        PROSEGUR SERVICES GROUP INC
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        SUMMERVILLE, SC 29486
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        MARINE TERMINAL
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        FLUSHING, NY 11371
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        SKYPAXXX INTERIOR REPAIRS LLC
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        SUITE 1
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        POMPANO BEACH, FL 33,064.00


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        THE GOURMET COFFEE CO.
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        THE PORT AUTHORITY OF NEW YORK
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        FLUGHAFENSTRASSE 10
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